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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


   LYNK LABS, INC.
                                               Civil Action No. 1:21-cv-05021-MHC
                   Plaintiff,
          v.

   HOME DEPOT USA, INC., THE                   JURY TRIAL DEMANDED
   HOME DEPOT INC., AND HOME
   DEPOT PRODUCT AUTHORITY,
   LLC,

                   Defendants.


                         NOTICE OF WITHDRAWAL OF
                         JOHN L. NORTH AS COUNSEL

      Pursuant to Local Rule 83.1(E)(4), counsel for Plaintiff Lynk Labs, Inc.

(“Plaintiff”) hereby gives notice of the withdrawal of John L. North, formerly of

Hill, Kertscher & Wharton, LLP, as counsel of record for Plaintiff in the above-

referenced proceeding.

      The withdrawal of Mr. North’s appearance will not delay this proceeding and

will not prejudice any party to this action. Plaintiff will continue to be represented

by Steven G. Hill of Hill, Kertscher & Wharton, LLP.

      Plaintiff respectfully requests that the Court and all parties remove John L.

North from all service lists, including ECF service lists, and cease to serve Mr. North

with any documents subject to service and/or notice in this proceeding.
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Dated: March 12, 2025.                  Respectfully Submitted,

                                        /s/ Steven G. Hill______
                                        Steven G. Hill
                                        Georgia Bar No. 354658
                                        HILL, KERTSCHER & WHARTON,
                                        LLP
                                        3625 Cumberland Blvd, SE, Suite 1500
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                                        Attorneys for Plaintiff Lynk Labs, Inc.




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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 12, 2025, I electronically submitted the

foregoing document with the clerk of court for the U.S. District Court, Northern

District of Georgia, using the CM/ECF filing system of the court for electronic

service on all parties.



                                            /s/ Steven G. Hill
                                            Steven G. Hill
                                            Georgia Bar No. 354658

                                           Attorneys for Plaintiff Lynk Labs, Inc.




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